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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-00212 MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   RUVILA ELIZABETH LIMA, et al.,                      DATE: January 31, 2019
                                                         TIME: 10:00 a.m.
15                                Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17                                                STIPULATION

18          1.      By previous order, this matter was set for status on January 31, 2019.

19          2.      By this stipulation, defendant Poya Khanjan, through his respective counsel of record, now

20 moves to continue the status conference until April 4, 2019, and to exclude time between January 31,
21 2019, and April 4, 2019, under Local Code T4.
22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The United States has represented that the discovery associated with this case

24 includes, collectively, investigative reports, electronic discovery obtained from the search of various
25 electronic devices, records from the California Department of Motor Vehicles, and records from telephone
26 providers and banks that exceed 2,000 pages, all of which is subject to a protective order. Counsel for
27 Khanjan substituted in on July 30, 2018, and was provided discovery subsequent to that date after

28 executing the protective order in the case so as to receive the discovery.

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             1
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 1                  b)     Counsel for defendant needs additional time to continue to review discovery,

 2 consult with his client, to conduct further investigation and research related to the charges, including
 3 potential immigration consequences, to discuss potential resolution with his client, to research any pretrial
 4 motions, and to otherwise prepare for trial.
 5                  c)     Additionally, counsel for the defendant represents that he was unable to prepare for

 6 this matter throughout the past few months due to a conflicting state court matter.

 7                  d)     Counsel for defendant believes that failure to grant the above-requested continuance

 8 would deny counsel the reasonable time necessary for effective preparation, taking into account the
 9 exercise of due diligence.
10                  e)     The United States does not object to the continuance.

11                  f)     Based on the above-stated findings, the ends of justice served by continuing the

12 case as requested outweigh the interest of the public and the defendant in a trial within the original date
13 prescribed by the Speedy Trial Act.
14                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

15 seq., within which trial must commence, the time period of January 31, 2019 to April 4, 2019, inclusive, is
16 deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
17 continuance granted by the Court at defendant’s request on the basis of the Court’s finding that the ends of
18 justice served by taking such action outweigh the best interest of the public and the defendant in a speedy
19 trial.
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             2
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
                                                               McGREGOR W. SCOTT
 6   Dated: January 28, 2019                                   United States Attorney
 7                                                             /s/ Rosanne L. Rust
                                                               ROSANNE L. RUST
 8                                                             Assistant United States Attorney
 9
     Dated: January 28, 2019                                   /s/ Steve Whitworth (as
10                                                             authorized 1/28/2019)
                                                               STEVE WHITWORTH
11                                                             Counsel for Defendant
12                                                             POYA KHANJAN

13
14                                                     ORDER
15          IT IS SO ORDERED.
16 Dated: January 29, 2019
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
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